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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,

v. Case No.: 1:21-cr-00104-RJL
Hon. Richard J. Leon

KLETE DERIK KELLER,

Defendant.

NOTICE FOR THE SUGGESTION OF DEATH OF COUNSEL
The Clerk of this Court will please be advised Edward B. MacMahon, Jr., Counsel for

defendant, Klete Derik Keller, died on March 12, 2023. See Edward MacMahon Obituary,
WASHINGTON POST (Mar. 21, 2023) available at
https://wwww.legacy.com/us/obituaries/washingtonpost/name/edward-macmahon-
obituary ?id+5 1261374).

I hereby certify that I have contacted defendant, Klete Derik Keller to advised him of Mr.

MacMahon’s passing. Mr. Keller advised that he has retained Zachary A. Deubler, Esquire as his

Gil. Z lll LE

Paul E. MacMahon

Executor for the Estate of
Edward B. MacMahon, Jr.

110 East Washington Street

Middleburg, Virginia 20117

540-687-5588

info@sheridanmacmahon.com

counsel.

   

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Mail Room

  
 
  

    

Angela D

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U.S. District aesaty Clerk of Coun
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Court, District of Columbia

      
   
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CERTIFICATE OF SERVICE

Thereby certify that on April__@__, 2023, I filed this Motion for Suggestion of Death of
Counsel using FedEx to the Clerk of Court, who will send notification of such filing to all

counsel of record. Ff 4 JU Jk

Paul E. MacMahon
Executor for the Estate of
Edward B. MacMahon, Jr.
